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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00109 (TJK)
        v.                                    :
                                              :
TAM DINH PHAM,                                :
                                              :
                 Defendant.                   :

                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Tam Dinh Pham to 60 days’ incarceration and $500 in restitution.

   I.         Introduction

        Tam Dinh Pham (“Defendant”), a senior Houston police officer at the time, participated in

the January 6, 2021 attack on the United States Capitol—a violent attack that forced an interruption

of the certification of the 2020 Electoral College vote count, threatened the peaceful transfer of

power after the 2020 Presidential election, injured more than one hundred law enforcement

officers, and resulted in more than a million dollars’ worth of property damage.

        Defendant pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating or Picketing in the Capitol Building, which carries a maximum term of

incarceration of six months. As explained herein, a period of incarceration is appropriate in this

case because (1) Defendant saw people trying to incite the police during the riot; (2) he walked

past knocked-down fences and other barricades to make his way inside the U.S. Capitol; (3) while

entering the Capitol, amid shouts of “It’s our house now,” he cheered, “We’re taking the house

back!, demonstrating he was not a mere “tourist”; (4) he spent approximately 20 minutes roaming

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throughout the Capitol building, demonstrating he did not quickly abandon the unlawful trespass;

(5) he penetrated the U.S. Capitol all the way to an area of offices, thereby increasing the risk that

he would encounter persons who were lawfully inside the building, including Congressional

staffers, which could have escalated into a confrontation; (6) he falsely downplayed his conduct to

FBI agents by claiming that he just wanted to take pictures of the artwork inside the Capitol

building; and (7) as an active Houston, Texas police officer with 18 years of experience, including

experience of his own responding to demonstrations, he knew full well that entering the U.S.

Capitol was unlawful, and that it had a potential for serious violence.

       Defendant’s conduct on January 6, like the conduct of scores of other defendants, took

place in the context of a large and violent riot that relied on numbers to overwhelm law

enforcement, breach the Capitol, and disrupt the proceedings. But for his actions alongside so

many others, the riot likely would have failed in its goal of delaying the certification of the

Electoral College vote. See United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr.

10/4/2021 at 25 (“A mob isn't a mob without the numbers. The people who were committing those

violent acts did so because they had the safety of numbers.”) (statement of Judge Chutkan). Here,

Defendant’s participation in a riot that actually succeeded in halting the Congressional certification

combined with his unique understanding of the potential for violence that day as a sworn law

enforcement officer renders a significant sentence both necessary and appropriate.




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   II.      Factual and Procedural Background

                             The January 6, 2021 Attack on the Capitol

         To avoid repetition, the government refers to the general summary of the attack on the U.S.

Capitol. See ECF 22 (Statement of Offense), at 1-3. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. Defendant’s

conduct was neither the least nor the most culpable of persons who have been convicted of

violating 40 U.S.C. § 5104(e)(2)(G) for their conduct on January 6. It was, however, serious

enough to warrant a sentence of incarceration.

                   Defendant’s Role in the January 6, 2021 Attack on the Capitol

         On January 5, 2021, Defendant traveled to Washington, D.C. from his home in Texas with

his wife and her friend. He later told agents that he attended the “Stop the Steal” rally on January

6 so that he could “see history.”

         After attending the former President’s rally, Defendant followed the crowd walking toward

the Capitol. His wife and her friend did not follow. Along the way, Defendant posed for a picture

with a Trump flag across his shoulders with the Capitol in the background:




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Defendant told agents that he posted that picture to Facebook but quickly deleted it. Agents later

found the picture in Defendant’s “Deleted” album in his telephone.

       Defendant took photos and videos as he walked toward the Capitol. In one video,

Defendant can be heard joining a chant of “Stop the steal” while standing on the West Plaza of the

Capitol grounds just behind the police barrier:




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                                            Exhibit 11
                                      (screenshot min 0:43)




In another video taken by Defendant on the Capitol grounds, members of the crowd can be heard

shouting, “storm the Bastille,” “Justice for Trump,” “tear gas” and “fight for Trump” while people

appear to be visibly impacted by a chemical irritant in the air. See Exhibit 2. 2




1
  Exhibit 1 is a video being provided to the Court and Defendant in advance of the hearing. The
picture is a screen capture from that video.
2
  Exhibit 2 is a video being provided to the Court and Defendant in advance of the hearing.
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       At approximately 2:45 P.M., Defendant made entry into the U.S Capitol building through

the Upper West Terrace door, a door that was plainly not intended for visitors, as stacks of

cardboard boxes lined the walls, an alarm blared, and no metal detector or security checkpoint

were present:




On the way in, Defendant took a video in which an alarm can be heard blaring and a member of

the crowd shouted, “This is our house now!” Defendant then turned the camera on himself and

said, “We’re taking the house back!”




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                                          Exhibit 33
                                    (screenshot min 0:16)




       Once inside, Defendant walked up a flight of stairs, and entered the Rotunda where a large

crowd was present.




3
 Exhibit 3 is a video being provided to the Court and Defendant in advance of the hearing. The
picture is a screen capture from that video.
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While in the Rotunda, Defendant posed for photo in front of a statue of former President Gerald

Ford in whose hands a flag had been placed that read, “TRUMP 2020 – NO MORE BULLSHIT”:




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After spending about seven minutes in the Rotunda, Defendant entered Statuary Hall. He then

returned to the Rotunda and walked through a fire door into an office area with desks, a computer,

and numerous paper files. According to the Capitol Police, this area was part of the office suite of

Congressman and House Leader Kevin McCarthy:




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Defendant then doubled back through the fire door and returned to the lobby area outside the

Rotunda:




He exited the building at approximately 3:05 PM, about 20 minutes after he entered. Defendant

admitted that he knew at the time he entered the U.S. Capitol Building that he did not have

permission to enter the building and that he paraded, demonstrated, or picketed.

                                Defendant’s Interview by the FBI

         On January 12, 2021, Defendant was voluntarily interviewed by FBI agents at his home

in Richmond, Texas regarding his involvement in the events of January 6, 2021. During the

interview, Defendant acknowledged he had been an officer of the Houston Police Department

(“HPD”) for approximately 18 years. 4 Defendant told the agents that he was in Washington,

D.C. from January 5–7, 2021 for business reasons. PSR ¶ 17. He stated that he briefly attended

President Trump's rally on January 6, 2021 but initially denied going to the Capitol building. Id.



4
    In February 2021, Pham resigned from HPD. PSR ¶ 49.
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       The agents asked Defendant if they could look at the pictures on his cell phone during the

time he was in Washington, D.C., and Defendant agreed. PSR ¶ 17. As Defendant was showing

the agents the photos, they noticed there were none for the dates that Defendant had traveled to

Washington, D.C. Id. An agent asked Defendant if she could view his “deleted” photo album.

Defendant agreed, and in that album, agents found dozens of photos and videos of the interior of

the Capitol building and the Capitol grounds from January 6. Id.

       An agent advised Defendant that it was unlawful for him to make false statements to the

agents. In response, Defendant said he would tell the truth. He stated that he had traveled to

Washington, D.C. from Houston on January 5, 2021 with his wife and her friend, and that they

stayed for two nights. Defendant stated that they originally traveled to Washington, D.C. for his

wife’s cooking business, which happened to coincide with President Trump’s rally. Defendant

stated that he learned about the rally from Facebook and that he attended it to “see history.” He

stated that he was not associated with any social media groups that were promoting the rally.

Defendant stated he did not travel with any weapons, did not meet anyone there, and had no

intention of committing any act of violence or vandalism at the Capitol.

       Defendant stated that he, his wife, and her friend went to the rally early in the morning,

around 7:00 am, but by that time the crowd was so big, he was stuck far away from the stage and

had a hard time seeing or hearing President Trump’s speech. After the rally was over, Defendant

stated that he saw people walking towards the Capitol, so he began to follow. He stated that

neither his wife nor her friend went the Capitol with him.

       Defendant stated that he climbed over some fences that had been previously knocked

over and walked around some barricades. PSR ¶ 17. He stated he saw police officers but he did

not engage with them. Defendant stated that he continued walking past a garden and a broken or



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torn down fence, and he passed other barricades on his way to the Capitol. He said that some of

the rioters were asking law enforcement officers for support since they had supported the police

during Antifa and Black Lives Matter protests. Defendant said he did not want to see that so he

walked away from the police and the people trying to incite them.

         Defendant admitted to entering the Capitol building. PSR ¶ 17. He stated that once he

was inside, he went into the Rotunda. He said that he did not commit any crime while he was

inside the Capitol; he just wanted to take pictures since he has an appreciation for art. Defendant

stated that he remained inside of the Rotunda for 10-15 minutes before he left, and that he did

not return to the Capitol.

         Defendant provided the agents with consent to digitally image or copy the contents of his

phone, including his photos and videos. The agents did so and found numerous photos and

videos of the Capitol grounds and inside the Capitol building, including Exhibits 2, 3, 5 and 7,

above.

                                 The Charges and Plea Agreement

         On January 19, 2021, Defendant was charged by complaint with violating 18 U.S.C.

§§ 1752(a)(1) and 40 U.S.C. §§ 5104(e)(2). ECF 1. On February 10, 2021, Defendant was charged

by four-count Information with violating 18 U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C.

§§ 5104(e)(2)(D) and (G). ECF 3. On September 20, 2021, he pleaded guilty to Count Four of

the Information, charging him with a violation of 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating or Picketing in the Capitol Building. In his plea agreement, Defendant agreed to

pay $500 in restitution to the Architect of the Capitol.




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   III.      Statutory Penalties

          Defendant now faces a sentencing on a single count of 40 U.S.C. § 5104(e)(2)(G). As noted

by the plea agreement and the U.S. Probation Office, Defendant faces up to six months of

imprisonment and a fine of up to $5,000. Defendant must also pay restitution under the terms of

his plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-

79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines do not

apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct,

§ 3553(a)(6). In this case, as described below, all of the Section 3553(a) factors weigh in favor of

a serious sentencing that includes incarceration.

             A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of

the only times in our history when the building was literally occupied by hostile participants. The

attack defies comparison to other events.

          While each defendant should be sentenced based on his or her individual conduct, each

person who unlawfully entered the Capitol on January 6 did so under extreme circumstances. As



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a person entered the Capitol, he or she would—at a minimum—have crossed through numerous

barriers and barricades and heard the throes of a mob. Depending on the timing and location of

their approach, they also might have observed extensive fighting with law enforcement officials

and likely would have smelled chemical irritants in the air. Given those circumstances, no rioter

was a mere tourist that day.

       Additionally, while looking at a defendant’s individual conduct, the Court should assess

that conduct on a spectrum. This Court, in fashioning a fair and just sentence, should look to a

number of critical factors, to include: (1) whether, when, how the defendant entered the Capitol

building; (2) whether the defendant engaged in any violence or encouraged violence; (3) whether

the defendant engaged in any acts of destruction or encouraged destruction; (4) the defendant’s

reaction to acts of violence or destruction; (5) whether during or after the riot, the defendant

destroyed evidence; (6) the length of the defendant’s time inside of the building, and exactly where

the defendant traveled; (7) the defendant’s statements in person or on social media; (8) whether

the defendant cooperated with, or ignored, law enforcement; (9) whether the defendant otherwise

exhibited evidence of remorse or contrition; and (10) whether the defendant held a position of trust

or influence in the community. While these factors are not exhaustive nor dispositive, they help to

place each individual defendant on a spectrum as to his or her fair and just punishment.

       Defendant, an 18-year police officer, witnessed multiple warning signs for danger and

violence as he made his way to the Capitol building. He saw downed barricades and members of

the crowd inciting law enforcement officers. He heard chants of “Justice for Trump,” and “fight

for Trump” as he approached. He would have noticed chemical irritant in the air. Indeed, someone

can be heard calling out, “tear gas” as Defendant stood with the crowd just feet away from

barricades on the West Plaza of the Capitol grounds, lined with law enforcement officers.



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        In spite of all of these warning signs, Defendant decided to proceed forward into the U.S.

Capitol building, entering through a doorway while an alarm blared. Although Defendant told FBI

agents he entered the Capitol to view the artwork inside the building, as he penetrated the Capitol,

he shouted, “We’re taking the house back!”

        Unlike some who turned back immediately, Defendant walked through multiple locations

inside the Capitol for 20 minutes. Notably, his pathway included walking through a marked fire

door into the office suite of a United States Congressman.

        While Defendant’s statements after January 6 do show some remorse, they also show an

attempt to shade the truth. To begin, Defendant initially denied going to the Capitol building at

all, and a review of his phone revealed that he had deleted the pictures and videos that he took that

day. Only after agents asked to view Defendant’s “deleted” photo album and found pictures of

him at the Capitol did he admit to going inside. Yet even then, Defendant claimed that he did not

commit any crimes, and just wanted to take pictures of the artwork in the building. This is at odds

with his cry of, “We’re taking the house back!” upon entry, as well as his posed photo in the

Rotunda in front of a statue of former President Gerald Ford defaced with a sign that read,

“TRUMP 2020 – NO MORE BULLSHIT.” In the photo, Defendant smiles while pointing to the

flag.

        Accordingly, the nature and the circumstances of this offense establish the clear need for a

sentence of incarceration.

           B. Defendant’s History and Characteristics

        As an active police officer with 18 years of experience, Defendant was well aware of the

great jeopardy posed by violent entry into the Capitol by the rioters. Indeed, just six months earlier,

Defendant had stood on the other side of a protest while on duty in Houston. Exhibit 11 is a video



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(with screenshots pictured below) from Defendant’s telephone dated June 2, 2020, capturing

Defendant in uniform and riot gear helping to keep the peace in Houston. According to news

reports, a protest in honor of George Floyd with an estimated 60,000 people took place in Houston

that day. 5 Fortunately that protest remained peaceful.

                                          Exhibit 46
                              (Screenshots at min 0:05 and 0:17)




Based on his experience, Defendant knew better than many others present that day about the

dangers presented by a large and aggressive crowd that vastly outnumbered law enforcement

officers who were present and that pushed into a restricted building like the U.S. Capitol.


5
  See https://www.khou.com/article/news/local/george-floyd/george-floyd-updates-on-march-
protest-on-june-2-houston-texas/285-55284292-3321-4bc0-b8b5-9bec89c426ed (last visited
November 19, 2021).
6
  Exhibit 4 is a video being provided to the Court and Defendant in advance of the hearing. The
picture is a screen capture from that video.
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       Defendant has no known criminal history, and has been compliant with his conditions of

pre-trial release. While Defendant’s service in law enforcement is laudable, it renders his conduct

on January 6 all the more serious. While serving as a police officer, Defendant had to gird himself

with riot gear to be prepared for potentially violent protestors. He well knew about the potential

for violence when an aggressive crowd pushes forward into a restricted government building. His

decision to unlawfully enter a guarded government building is deeply troubling in light of his

former service and training.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 7 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration, as it will in most cases arising out of the riot on

January 6, 2021, including in misdemeanor cases. See United States v. Joshua Bustle and Jessica

Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I don’t think anyone should start off

in these cases with any presumption of probation. I think the presumption should be that these

offenses were an attack on our democracy and that jail time is usually -- should be expected”)

(statement of Judge Hogan).




7
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf.
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            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. The violence at the Capitol on January 6

was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of Presidential power to a newly elected President. As noted by

Judge Moss during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see also United States v.

Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have

recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be



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deterred.”) (statement of Judge Nichols at sentencing). .

       The gravity of these offenses demands strong deterrence. This was not a protest. See United

States v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can

be made defending what happened in the Capitol on January 6th as the exercise of First

Amendment rights.”). And it is important to convey to future rioters and would-be mob

participants—especially those who intend to improperly influence the democratic process—that

their actions will have severe adverse consequences.

       Specific Deterrence

       Members of law enforcement serve as role models to others, and civilians contemplating

breaking the law are likely to be emboldened by the illegal conduct of a police office. Defendant’s

unlawful conduct on January 6, while serving as an active-duty police officer, shows that

restrictions on his behavior that did not apply to civilians were insufficient to deter him. That,

coupled with his initial attempts to minimize the gravity of his conduct, creates a real need for

specific deterrence in the form of incarceration.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, to assault

on law-enforcement officers, to conspiracy to corruptly interfere with Congress. Each offender

must be sentenced based on his or his individual circumstances, but in light of the January 6 riot

in which they joined with thousands of others. Moreover, each offender’s case exists on a spectrum

that ranges from conduct meriting a probationary sentence to crimes calling for years of

imprisonment. The misdemeanor defendants will generally fall on the lesser end of that spectrum,

but misdemeanor breaches of the Capitol on January 6, 2021, were not minor crimes.               A



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probationary sentence should not necessarily become the default. 8 Indeed, the government invites

the Court to join Judge Lamberth’s admonition that “I don’t want to create the impression that

probation is the automatic outcome here because it’s not going to be.” United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19; see also United States v. Valerie Ehrke,

1:21-cr-00097 (PFF), Tr. 9/17/2021 at 13 (“Judge Lamberth said something to the effect . . . ‘I

don't want to create the impression that probation is the automatic outcome here, because it's not

going to be.’ And I agree with that. Judge Hogan said something similar.”) (statement of Judge

Friedman).

       While the number of sentenced defendants to date is low relative to the more than 650 cases

currently pending, the government and the sentencing courts have already begun to make

meaningful distinctions between offenders. Those who engaged in felonious conduct are generally

more dangerous, and thus, treated more severely in terms of their conduct and subsequent

punishment. Those who trespassed, but engaged in aggravating factors, merit serious consideration

of institutional incarceration. Those who trespassed, but engaged in less serious aggravating

factors, deserve a sentence more in line with minor incarceration or home detention.

         Defendant has pleaded guilty to Count Four of the Superseding Information, charging

him with Parading, Demonstrating or Picketing in the Capitol Building, in violation of 40 U.S.C.




8
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its prior agreement to recommend probation in these cases, but those agreements do
not apply to this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir.
2015) (no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants
who plead guilty under a “fast-track” program and those who do not given the “benefits gained
by the government when defendants plead guilty early in criminal proceedings”) (citation
omitted).
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§ 5104(e)(2)(G). This offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C

misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply,

however.

       Avoiding unwarranted disparities requires the courts to consider not only a defendant’s

“records” and “conduct” but other relevant sentencing criteria, such as a defendant’s expression of

remorse or cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365

(D.C. Cir. 2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike

defendant, pleaded guilty and cooperated with the government).

       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). Because the

Sentencing Guidelines do not apply here, the sentencing court cannot readily conduct a disparity

analysis against a nationwide sample of cases captured by the Sentencing Guidelines.

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on co-defendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of legislative branch



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of federal government, the vast size of the mob, the goal of impeding if not preventing the peaceful

transfer of Presidential power, the use of violence by a substantial number of rioters against law

enforcement officials, and large number of victims. Thus, even though many of the defendants

were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

       As the number of sentences in the Capitol breach misdemeanor cases increases and the

pool of comparators grows, the effect on sentences of obviously aggravating considerations should

become more apparent. The same is true for obviously mitigating factors, such as a defendant’s

efforts to prevent assaults on police. Here, to avoid unwarranted sentencing disparities, the Court

should also consider the sentence imposed in the following cases:

       In United States v. Camper, the defendant was a Marine veteran who spent approximately

10 to 15 minutes inside the Capitol. Defendant Camper made some statements of intent including,

“We’re going to take this damned placed.” He likely destroyed a Go-Pro camera that he wore

when he entered the Capitol. Defendant Camper had a minor criminal history with one prior

conviction, and he, like Defendant, turned himself in and agreed to be interviewed by the FBI. The

government requested a sentence of 60 days’ incarceration and a payment of $500 in restitution.

The court sentenced defendant Camper to the requested 60 days of incarceration and ordered $500

in restitution along with 60 hours of community service. See United States v. Boyd Camper, 1:21-

cr-00325 (CKK), Tr. 11/12/2021.

       In United States v. Gruppo, the defendant was a 28-year military veteran with no criminal

history who spent about 6 minutes in the Capitol building. Defendant Gruppo voluntarily

debriefed with law enforcement, and claimed that he entered the Capitol building to escape the

surrounding chaos. He self-surrendered, but only after the arrest of his travel companion that day.



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The government requested a sentence of 30 days’ incarceration and a payment of $500 in

restitution. The court sentenced defendant Gruppo to two years of probation including 90 days of

home detention, and ordered him to pay a $3,000 fine and $500 in restitution. See United States

v. Leonard Gruppo, 1:21-cr-00391 (BAH), Doc. 32.

       Facts that make the Defendant’s conduct more serious than both Camper and Gruppo are

that he was an active-duty police officer, carrying that imprimatur of authority at the time that he

committed the offense, and that he penetrated the Capitol all the way into the office suite of a

member of Congress.

        In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. 9




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  Attached to this sentencing memorandum is an Appendix providing additional information about
the sentences imposed on other Capitol breach defendants.

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   V.      Conclusion

        Sentencing requires that the Court carefully balance the various factors set forth in 18

U.S.C. § 3553(a). As explained above, some of those factors set Defendant apart from the least

serious actors on January 6. Balancing all the § 3553(a) factors, the government recommends that

this Court sentence Defendant to 60 days’ incarceration and order him to pay $500 in restitution.



                                             Respectfully submitted,

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                                             UNITED STATES ATTORNEY


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                                                  APPENDIX
Table 1: Cases in which the government recommended a probation sentence without home
detention 10
  Defendant     Case                 Offense of            Government                 Sentence Imposed
    Name      Number                Conviction           Recommendation
 Morgan-     1:21-CR-              40 U.S.C. §         36 months’                   36 months’
 Lloyd, Anna 00164-                5104(e)(2)(G)       probation, 40 hours          probation, 120
             RCL                                       community service,           community service
                                                       $500 restitution             hours, $500
                                                                                    restitution
 Ehrke,            1:21-CR-        40 U.S.C. §         36 months’                   36 months’
 Valerie           00097-PLF       5104(e)(2)(G)       probation, 40 hours          probation, $500
                                                       community service,           restitution
                                                       $500 restitution
 Bissey,           1:21-CR-  40 U.S.C. §               36 months’                   14 days incarceration,
 Donna             00165-TSC 5104(e)(2)(G)             probation, 40 hours          60 hours community
                                                       community service,           service, $500
                                                       $500 restitution             restitution


Table 2: Cases in which the government recommended a probation sentence with home detention
  Defendant           Case            Offense of        Government                     Sentence Imposed
    Name            Number           Conviction      Recommendation
 Bustle,           1:21-CR-        40 U.S.C.       3 months home                     60 days of home
 Jessica           00238-          § 5104(e)(2)(G) detention, 36                     detention, 24 months’
                   TFH                             months’ probation,                probation, 40 hours
                                                   40 hours community                community service,
                                                   service, $500                     $500 restitution
                                                   restitution
 Bustle,           1:21-CR-        40 U.S.C.       1 month home                      30 days home
 Joshua            00238-          § 5104(e)(2)(G) detention, 36                     detention, 24 months’
                   TFH                             months’ probation,                probation, 40 hours
                                                   40 hours community                community service,
                                                   service, $500                     $500 restitution
                                                   restitution


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   Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that
included an agreement to recommend probation, including in United States v. Anna Morgan-Lloyd, 1:21-cr-
00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); and United States v. Donna Sue Bissey,
1:21-cr-00165(TSC). The government is abiding by its agreements in those cases, but has made no such agreement in
this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those
who do not given the “benefits gained by the government when defendants plead guilty early in criminal proceedings”)
(citation omitted).

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 Doyle,        1:21-CR-  40 U.S.C.       2 months home               2 months’ probation,
 Danielle      00324-    § 5104(e)(2)(G) detention, 36               $3,000 fine, $500
               TNM                       months’ probation,          restitution
                                         60 hours community
                                         service, $500
                                         probation
 Bennett,      1:21-CR-  40 U.S.C.       3 months home               3 months of home
 Andrew        00227-JEB § 5104(e)(2)(G) detention, 36               detention,
                                         months’ probation,          24 months’ probation,
                                         60 hours community          80 hours community
                                         service, $500               service, $500
                                         restitution                 restitution
 Mazzocco,     1:21-CR-  40 U.S.C.       3 months home               45 days incarceration,
 Matthew       00054-    § 5104(e)(2)(G) detention, 36               60 hours community
               TSC                       months’ probation,          service 11, $500
                                         60 hours community          restitution
                                         service, $500
                                         restitution
 Rosa, Eliel   1:21-CR-  40 U.S.C.       1 month home                12 months’ probation,
               00068-    § 5104(e)(2)(G) detention, 36               100 hours community
               TNM                       months’ probation,          service, $500
                                         60 hours community          restitution
                                         service, $500
                                         restitution
 Gallagher,    1:21-CR-  40 U.S.C. §     1 month home                24 months’ probation,
 Thomas        00041-CJN 5104(e)(2)(G)   detention, 36               60 hours community
                                         months’ probation,          service, $500
                                         60 hours community          restitution
                                         service, a fine, and
                                         $500 restitution
 Vinson,       1:21-CR-  40 U.S.C. §     3 months home               5 years’ probation,
 Thomas        00355-    5104(e)(2)(G)   detention, 3 years’         $5,000 fine, $500
               RBW                       probation, 60 hours         restitution, 120 hours
                                         community service,          community service
                                         $500 restitution
 Dillon,       1:21-CR-  40 U.S.C. §     3 months home               60 days home
 Brittiany     00360-    5104(e)(2)(D)   detention, 36               detention, 3 years’
               DLF                       months’ probation,          probation, $500
                                         60 hours community          restitution
                                         service, $500
                                         restitution
 Sanders,      1:21-CR-  40 U.S.C. §     2 months home               36 months’ probation,
 Jonathan      00384-CJN 5104(e)(2)(G)   detention, 36               60 hours community

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  The government believes the Court’s 10/4/2021 minute entry in this case is incorrect and the
sentence requires 60 hours of community service, not 60 months.

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                                             months’ probation,     service, $500
                                             60 hours community     restitution
                                             service, $500
                                             restitution
 Fitchett,     1:21-CR-  40 U.S.C. §         2 months home          1 month home
 Cindy         00041-CJN 5104(e)(2)(G)       detention, 36          detention, 36 months’
                                             months’ probation,     probation, 60 hours
                                             60 hours community     community service,
                                             service, $500          $500 restitution
                                             restitution
 Sweet,        1:21-CR-  40 U.S.C. §         3 months home          1 month home
 Douglas       00041-CJN 5104(e)(2)(G)       detention, 36          detention, 36 months’
                                             months’ probation,     probation, 60 hours
                                             60 hours community     community service,
                                             service, $500          $500 restitution
                                             restitution
 Cordon,       1:21-CR-     40 U.S.C. §      3 months home          2 months’ probation,
 Sean          00269-       5104(e)(2)(G)    detention, 36          $4000 fine
               TNM                           months’ probation,
                                             60 hours community
                                             service, $500
                                             restitution
 Wilkerson,    1:21-CR-     40 U.S.C. §      2 months home          36 months’ probation,
 John IV       00302-       5104(e)(2)(G)    detention, 36          $2500 fine, 60 hours
               CRC                           months’ probation,     community service,
                                             60 hours community     $500 restitution
                                             service, $500
                                             restitution


Table 3: Cases in which the government recommended a sentence of incarceration
 Defendant        Case        Offense of        Government           Sentence Imposed
   Name         Number       Conviction      Recommendation
 Curzio,       1:21-CR-     40 U.S.C. §     Not applicable         6 months incarceration
 Michael       00041-CJN    5104(e)(2)(G)                          (time served), $500
                                                                   restitution
 Hodgkins,     1:21-CR-     18 U.S.C. §     18 months              8 months
 Paul          00188-       1512(c)(2)      incarceration          incarceration, 24
               RDM                                                 months’ supervised
                                                                   release, $2000
                                                                   restitution
 Dresch,       1:21-CR-     40 U.S.C. §     6 months               6 months incarceration
 Karl          00071-ABJ    5104(e)(2)(G)   incarceration (time    (time served), $500
                                            served), $500          restitution
                                            restitution


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Jancart,       1:21-CR-    40 U.S.C. §     4 months                 45 days incarceration,
Derek          00148-JEB   5104(e)(2)(D)   incarceration, $500      $500 restitution
                                           restitution
Rau, Erik      1:21-CR-    40 U.S.C. §     4 months                 45 days incarceration,
               00467-JEB   5104(e)(2)(D)   incarceration, $500      $500 restitution
                                           restitution
Hemenway,      1:21-CR-  40 U.S.C. §       30 days incarceration,   45 days incarceration,
Edward         00049-TSC 5104(e)(2)(G)     $500 restitution         60 hours community
                                                                    service, $500
                                                                    restitution
Reeder,        1:21-CR-  40 U.S.C. §       6 months                 3 months
Robert         00166-TFH 5104(e)(2)(G)     incarceration, $500      incarceration, $500
                                           restitution              restitution
Bauer,         1:21-CR-  40 U.S.C. §       30 days incarceration,   45 days incarceration,
Robert         00049-TSC 5104(e)(2)(G)     $500 restitution         60 hours community
                                                                    service, $500
                                                                    restitution
Vinson,        1:21-CR-    40 U.S.C. §     30 days incarceration,   5 years’ probation,
Lori           00355-      5104(e)(2)(G)   $500 restitution         $5,000 fine, $500
               RBW                                                  restitution, 120 hours
                                                                    community service
Griffith,      1:21-CR-    40 U.S.C. §     3 months                 90 days home
Jack           00204-      5104(e)(2)(G)   incarceration, $500      detention, 36 months’
               BAH                         restitution              probation, $500
                                                                    restitution
Torrens,       1:21-CR-    40 U.S.C. §     2 weeks                  90 days home
Eric           00204-      5104(e)(2)(G)   incarceration, $500      detention, 36 months’
               BAH                         restitution              probation, $500
                                                                    restitution
Gruppo,        1:21-CR-    40 U.S.C. §     30 days incarceration,   90 days home
Leonard        00391-      5104(e)(2)(G)   $500 restitution         detention, 24 months’
               BAH                                                  probation, $3,000 fine,
                                                                    $500 restitution
Ryan, Jenna    1:21-CR-    40 U.S.C. §     60 days incarceration,   60 days incarceration,
               00050-      5104(e)(2)(G)   $500 restitution         $1000 fine, $500
               CRC                                                  restitution
Croy, Glenn    1:21-CR-    40 U.S.C. §     60 days incarceration,   90 days home
               00162-      5104(e)(2)(G)   $500 restitution         detention, 14 days
               BAH                                                  community
                                                                    correctional facility,
                                                                    36 months’ probation,
                                                                    $500 restitution
Stotts,        1:21-CR-    40 U.S.C. §     45 days incarceration,   60 days home
Jordan         00272-TJK   5104(e)(2)(G)   $500 restitution         detention, 24 months’
                                                                    probation, $500


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                                                                  restitution, 60 hours
                                                                  community service
Fairlamb,    1:21-CR-    18 U.S.C. §     44 months                41 months
Scott        00120-      1512(c)(2),     incarceration, 36        incarceration, 36
             RCL         18 U.S.C. §     months’ supervised       months supervised
                         111(a)(1)       release, $2000 fine      release, $2000
                                                                  restitution
Camper,      1:21-CR-    40 U.S.C. §     60 days incarceration,   60 days incarceration,
John         00325-      5104(e)(2)(G)   $500 restitution         $500 restitution, 60
             CKK                                                  hours community
                                                                  service
Rukstales,   1:21-CR-    40 U.S.C. §     45 days incarceration,   30 days incarceration,
Bradley      00041-CJN   5104(e)(2)(G)   $500 restitution         $500 restitution
Cordon,      1:21-CR-    18 U.S.C. §     30 days incarceration,   12 months’ probation,
Kevin        00277-      1752(a)(1)      12 months supervised     100 hours community
             TNM                         release, $500            service, $4000 fine,
                                         restitution              $500 restitution
Chansley,    1:21-CR-    18 U.S.C. §     51 months                41 months
Jacob        00003-      1512(c)(2)      incarceration, 36        incarceration, 36
             RCL                         months supervised        months supervised
                                         release, $2000           release, $2000
                                         restitution              restitution
Mish, David 1:21-CR-     40 U.S.C. §     30 days incarceration,   30 days incarceration,
            00112-CJN    5104(e)(2)(G)   $500 restitution         $500 restitution
Lolos, John 1:21-CR-     40 U.S.C. §     30 days incarceration,   14 days incarceration,
            00243-       5104(e)(2)(G)   $500 restitution         $500 restitution
            APM




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